          Case: 1:22-cv-02100 Document #: 6 Filed: 07/12/22 Page 1 of 16 PageID #:35
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    (Enter above the full name
    of the plaintilf or plaintiffs in
    this action)

                                  VS.                            .",.*",           )rl-qa      ,  lcc
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    (Enter above the full name of ALL
    def-endants in this action. Do not
    use "et al.")

    CHECK ONE ONLY:                                              AMENDED COMPLAINT

                        COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE                                           42   SECTI.N      1983
    -!                  U.S. Code (state, county, or municipal defendants)

                        COMPLAINT UNDER THE CONSTITUTION (''BIVENS'' ACTION), TITLE
                        28 SECTION l33l U.S. Code (federaldef'endants)

                        OTHER (cite statute. if known)

    BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
    FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.




              [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
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I.     Plaintiff(s):

       A.       Name:

       B.       List all aliases:           Ad te,
                                                                                  "         ^
       c.       Prisoner identification number                ,   O,CI)    lO )7 ' 6                                    ,
       D.       Place of present confinement: O0
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       E.       Address:           ?ao soqtl/ ( fttt(oR/,/1,
                                  cfuclly       / TL 6o6o9
       (lf there is more than one    plaintiff,
                                        then each   plaintiff
                                                          must list his or her name, aliases, I.D.
       number, place of conf-tnement, and current address according to the above format on a
       separate sheet of paper.)

II.    Defendant(s):
       (ln A below, place the full name of the first defendant in the first blank. his or her official
       position in the second blank. and his or her place of employment in the third blank. Space
       for two additional def-endants is provided in B and C.)
                              '
       A.       Defendant: ',                        (l   g   Rl/ , /ul, Fe, K X
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       B.       Derendant: TO                     n trtRt
                prace of Emproyme
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       C.       Defbndant:               Kl,lfine                          K,4oL/L
                Title:

                praceorEmproyme"t,                            S/,/(irtJ fer7/=                    ZL
       (lf you have more   than three defendants. then all additional defendants must be listed
       according to the above format on a separate sheet of paper.)




                                                                                                                    Revised 9/2007




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             [f you need   additional space for ANY section, please attach an additional sheet and reference that section.]




III.    List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
        court in the United States:

        A.           Name of case and docket             number:          t\t* (5f ^i(            Kecl


        B.           Approximate date of rlling             lawsuit: xo I [           ,     ho A].
        C.           List all plqi




        D.           List all def-endants:




        E.           Court in which the lawsuit waltiled (iIfey'eralcoprt. name thedistriqt: if_staJe court.
                     name the      county): MolLt-ttc0il An.j (Ont|al. o{'                                             IL
        F.           Name ofjudge to whom case was                   assigned:            POnt+ kOrynDe &
        G.           Basic claim       *u0.,



        H.           Disposition of this case (for example: Was the case dismissed? Was it appealed?
                     Is it still pending?):




        I.           Approximate date of disposition:
                                                                                                                   o(\t       M           8toItr

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                                                                         Revised 9/2007




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        IV.    Statement of Claim:

               State here as briefly as possible the facts of your case. Describe how each defendant is
               involved, including names, dates, and places. Do not give any legal arguments or cite any
               cases or statutes. If you intend to allege a number of related claims, number and set forth
               each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
               if   necessary.)

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        [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]




v.     Relief:

       State briefly exactly what you want the court to do for                   you. Make no legal arguments. Cite
       no cases or statutes.

      af\pe(rS        frbK



                                                                                                                                     nvl ltrn,
VI.    The    plaintiff demands that the case be tried by a jury.                           YES



                                                                         CERTIFICATION

                                       By signing this Complaint, I certify that the facts stated in this
                                       Complaint are true to the best of my knowledge. information and
                                       belief. I understand that if this certification is not correct, I may be
                                       subject to sanctions by the Court.

                                       Signedthis          7          d^vtTqfV 2024


                                       (Signature of plaintiff or plaintiffs)

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